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                  IN THE UNITED STATES DISTRICT COURT FOR THE
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                              EASTERN DISTRICT OF CALIFORNIA
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 8
     UNITED STATES OF AMERICA,           )              1:06-cr-00299 AWI
 9                                       )
                       Plaintiff,        )              ORDER RE EX PARTE
10                                       )              DEFENSE MOTION FOR
           v.                            )              ADDITIONAL FUNDS FOR
11                                       )              APPOINTED DEFENSE
     KEITH DAVID GOODWIN,                )              INVESTIGATOR
12                                       )
                       Defendant.        )
13   ____________________________________)
14
15          On September 23, 2008, Defendant filed his Ex Parte Defense Motion For Additional
16   Funds For Appointed Defense Investigator. In Defendant’s motion, Defendant requests
17   additional funds for investigative work already done by appointed defense investigator Rick
18   Barclay since the conclusion of the jury trial in March 2008 and for further investigative work
19   to be done. The court has reviewed the motion and the included facts and information in
20   support of the motion.
21          The court finds that, based upon all of the information available to the court and the
22   sentencing issues raised to date by Defendant, granting Defendant’s motion is unwarranted,
23   except as specified below. In addition, as conceded by Defendant, Defendant had failed to
24   request such funding and the justification for such funding in advance of the post trial work
25   done by Mr. Barclay. Thus, the court did not have the opportunity to accept, reject or modify
26   such funding or to require further justification for any such funding before the services were
27   rendered. Furthermore, the court had previously denied Defendant’s motion for additional
28   investigator funds in an order filed and served on August 14, 2008. And the issue of
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 1   investigator funding was discussed at Defendant’s sentencing hearing held on September 2,
 2   2008.
 3            Nonetheless, it appears from Defendant’s motion that at least some of Mr. Barclay’s
 4   work done after the jury trial and up to the date of the sentencing hearing on September 2,
 5   2008 may objectively merit consideration for compensation by the court. The court will
 6   permit Mr. Barclay to submit a billing statement for work done after the jury trial up to the
 7   sentencing hearing on September 2, 2008. The court, in its discretion, will determine the
 8   amount, if any, of compensation to award Mr. Barclay for work done during that limited time
 9   period. As a note of caution, the court will not compensate an investigator for appearances at
10   any post jury trial proceedings in this case unless the relevancy of such appearances are
11   shown to the court in advance of any such appearances.
12            At paragraph 6 of Defendant’s motion, defendant states that there are three
13   individuals whose statements may be relevant to a sentencing issue. Defendant may submit
14   an ex parte motion for investigator funds for those three individuals. However, any such
15   motion must specify, in detail, the names of the individuals, a proffer of their proposed
16   statements and the relevancy of such statements to any sentencing issue.
17            THEREFORE, IT IS HEREBY ORDERED that Defendant’s Ex Parte Defense
18   Motion For Additional Funds For Appointed Defense Investigator is DENIED, except that
19   appointed defense investigator Rick Barclay may submit a billing statement to the court for
20   investigative work done from the end of the jury trial in March 2008 to the date of the
21   sentencing hearing on September 2, 2008. No other compensation for post jury trial
22   investigative work done by Mr. Barclay will be allowed by the court except by subsequent
23   order of the court upon prior receipt of a motion by Defendant submitted before any such
24   work is performed.
25   IT IS SO ORDERED.
26   Dated:      September 24, 2008                    /s/ Anthony W. Ishii
     0m8i78                                   CHIEF UNITED STATES DISTRICT JUDGE
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